              Case 2:06-cr-00206-RSM                        Document 141   Filed 09/12/06    Page 1 of 3



1                                                                                           JUDGE MARTINEZ
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7                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF WASHINGTON
8                                                  AT SEATTLE
9
     UNITED STATES OF AMERICA,              )
10                                          )                               NO. CR06-206RSM
                      Plaintiff,            )
11                                          )
                v.                          )
12                                          )                               ORDER CONTINUING
     EDGARDO COLOSIO-DUSSAN, et. al.,       )                               PRETRIAL MOTIONS
13                                          )                               DEADLINE AND
                      Defendants.           )                               TRIAL DATE
14   _______________________________________)
15             Defendant Edgardo Colosio-Dussan filed a Motion for Extension of Time to File
16   Pretrial Motions and Continue Trial (Dkt. 132), requesting that the pretrial motions deadline
17   and trial be continued for approximately three months. Four other defendants have joined in
18   that motion, as follows: Steven Bruce McKay (Dkt. 135), Salomon Torres-Alvarado (Dkt.
19   136), Diogenes Austudillo-Zinser (Dkt. 137), and Freddy Mascarenas-Rodriguez (Dkt. 138).
20   The United States filed a Response and does not oppose the motion.
21             This Court’s decision is based on and specifically incorporates the facts stated in the
22   Motion, Notices of Joinder, and the Government’s Response, and the facts apparent from the
23   record, including the following specific findings:
24             1.        This case is complex. It stems from a long-term investigation involving
25   multiple agencies, and included the simultaneous execution of over thirty search warrants in
26   two states on the date of arrest. The charges carry the potential for mandatory 10-year, 20-
27   year, or even mandatory life sentences for some defendants, depending on criminal history.
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     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 1                                                                         UNITED STATES ATTORNEY
                                                                                                700 STEWART STREET, SUITE 5220
     United States v. Colosio-Dussan, et al., CR06-206RSM
                                                                                               SEATTLE, WASHINGTON 98101-1271
                                                                                                        (206) 553-7970
              Case 2:06-cr-00206-RSM                        Document 141   Filed 09/12/06   Page 2 of 3



1    Trial presently is set for November 13, 2006, and pretrial motions were due on September 7,
2    2006. Eight defendants remain pending trial.
3              2.      This case involves a large volume of discovery. Among this discovery is several
4    thousand conversations intercepted over three Court-authorized Title III wire intercepts
5    (wiretaps). Many of these calls are not in English, and must be translated into English for
6    counsel and the Court. The translation effort has been complicated by the fact that some
7    calls are in an indigenous language of Southern Mexico, Mixteco Bajo, for which English-
8    speaking translators are very difficult to find. The discovery includes fifteen CDs containing
9    over 3500 pages of documents and thousands of audio files, and summaries of calls, as well
10   as 100 CDs containing audio and video recordings.
11             3.        Several defendants in this case have only recently substituted new counsel.
12   Edgardo Colosio-Dussan filed a motion to substitute counsel on September 1, 2006.
13   (Dkt. 131.) New counsel for Freddy Mascarenas-Rodriguez appeared on August 14, 2006,
14   (Dkt. 125), and new counsel for Osvoldo Soriano-Silva appeared on August 2, 2006
15   (Dkt. 120). New counsel require additional time to obtain and review the discovery and
16   conduct any necessary investigation.
17             4.        Five defendants have requested this continuance, and are expected to issue a
18   written knowing, voluntary, and intelligent waivers of the right to a speedy trial. The
19   Government does not oppose their request, provided they submit valid speedy trial waivers.
20   The remaining defendants are joined with the others for trial, and no severance has been
21   granted.
22             5.        In light of the interest of the public in ensuring the accused adequate, effective,
23   and continued representation by counsel presently assigned, this Court finds that the ends of
24   justice served by granting the requested continuance outweigh the best interest of the public
25   and defendants in a speedy trial. This Court further concludes that the above findings and
26   bases for continuing the trial comport with 18 U.S.C. § 3161(h) and the United States
27   Supreme Court's recent decision in Zedner v. United States, 126 S. Ct. 1976 (2006).
28

     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 2                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
     United States v. Colosio-Dussan, et al., CR06-206RSM
                                                                                              SEATTLE, WASHINGTON 98101-1271
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              Case 2:06-cr-00206-RSM                        Document 141   Filed 09/12/06   Page 3 of 3



1              Accordingly, for the reasons listed above and those apparent from the record, the
2    Motion for Continuance is HEREBY GRANTED.
3              Trial is reset for January 22, 2007, at 9:00 a.m.
4              Pretrial Motions are due on November 24, 2006.
5              The Court further finds that time from the filing of the motion through the new trial
6    date shall be excluded from computation under 18 U.S.C. §§ 3161(h)(8)(A),
7    3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii) for all defendants because the failure to grant the
8    requested continuance would be likely to result in a miscarriage of justice, and because the
9    case is so complex due to the number of defendants, the nature of the prosecution, and the
10   existence of novel questions of fact or law, that it is unreasonable to expect adequate
11   preparation for pretrial proceedings or for the trial itself within the time limits established by
12   the Speedy Trial Act, and under 18 U.S.C. § 3161(h)(7), because the defendants are all
13   joined for trial and no motion for severance has been granted.
14             Dated this __12___ day of September 2006.


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                                                                      RICARDO S. MARTINEZ
17                                                                    UNITED STATES DISTRICT JUDGE
18   Presented by:
19   s/ Sarah Y. Vogel
     SARAH Y. VOGEL
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     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 3                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
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